     Case: 1:16-cv-05106 Document #: 49 Filed: 03/10/17 Page 1 of 12 PageID #:517




              IN THE UNITED STATES DISTRICT COURT FOR THE
             NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

VANESSA RODRIGUEZ, MANUAL                  )
CAMACHO, DIMITRI DEJESUS,                  )
a Minor, by and through his mother         )
VANESSA RODRIGUEZ,                         )
                                           )       No. 2016-cv-5106
       Plaintiffs,                         )
v.                                         )       Judge Gary Feinerman
                                           )       Magistrate Judge Sidney I. Schenkier
CITY OF BERWYN,                            )
Berwyn Police Officers                     )
KARLAS ROBINZINE, Star No. 205,            )
ROBERT ARNONY, Star No. 218,               )
TIMOTHY KESKE, Star No. 200,               )
JIM RITZ, Chief of Police,                 )
                                           )
       Defendants.                         )

                                Agreed Confidentiality Order

        The parties to this Agreed Confidentiality Order have agreed to the terms of this Order;

accordingly, it is ORDERED:

        1.      Scope. All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, deposition testimony and exhibits, and

information derived directly therefrom (hereinafter collectively “documents”), shall be subject to

this Order concerning Confidential Information as defined below. This Order is subject to the

Local Rules of this District and the Federal Rules of Civil Procedure on matters of procedure and

calculation of time periods.

        2.      Confidential Information. As used in this Order, “Confidential Information”

means information designated as “CONFIDENTIAL” by the producing party that falls within

one or more of the following categories: (a) information prohibited from disclosure by statute;

(b) information that reveals trade secrets; (c) research, technical, commercial or financial



                                               1
  Case: 1:16-cv-05106 Document #: 49 Filed: 03/10/17 Page 2 of 12 PageID #:518




information that the party has maintained as confidential; (d) medical information concerning

any individual; (e) personal identity information; (f) income tax returns (including attached

schedules and forms), W-2 forms and 1099 forms; or (g) sensitive, non-public employment and

disciplinary records, which includes the following: an employee’s Social Security Number, date

of birth, address, personal vehicle information, personal contact information, and bank account

information; information related to an employee’s family/next of kin; and disciplinary records

that are older than 4 years old. Information or documents that are available to the public may not

be designated as Confidential Information.

       3.      Designation.

               (a)    A party may designate a document as Confidential Information for

protection under this Order by placing or affixing the words “CONFIDENTIAL” on the

document and on all copies in a manner that will not interfere with the legibility of the document.

As used in this Order, “copies” includes electronic images, duplicates, extracts, summaries or

descriptions that contain the Confidential Information. The marking “CONFIDENTIAL” shall

be applied prior to or at the time of the documents are produced or disclosed. Applying the

marking “CONFIDENTIAL” to a document does not mean that the document has any status or

protection by statute or otherwise except to the extent and for the purposes of this Order. Any

copies that are made of any documents marked “CONFIDENTIAL” shall also be so marked,

except that indices, electronic databases or lists of documents that do not contain substantial

portions or images of the text of marked documents and do not otherwise disclose the substance

of the Confidential Information are not required to be marked.

               (b)    The designation of a document as Confidential Information is a

certification by an attorney or a party appearing pro se that the document contains Confidential



                                               2
       Case: 1:16-cv-05106 Document #: 49 Filed: 03/10/17 Page 3 of 12 PageID #:519




    Information as defined in this order. 1

4.        Depositions. Deposition testimony is protected by this Order only if designated as

“CONFIDENTIAL” on the record at the time the testimony is taken. Such designation shall be

specific as to the portions that contain Confidential Information.                      Deposition testimony so

designated shall be treated as Confidential Information protected by this Order until fourteen days

after delivery of the transcript by the court reporter to any party or the witness. Within fourteen

days after delivery of the transcript, a designating party may serve a Notice of Designation to all

parties of record identifying the specific portions of the transcript that are designated Confidential

Information, and thereafter those portions identified in the Notice of Designation shall be

protected under the terms of this Order. The failure to serve a timely Notice of Designation

waives any designation of deposition testimony as Confidential Information that was made on the

record of the deposition, unless otherwise ordered by the Court.

           5.      Protection of Confidential Material.

                   (a)      General Protections. Confidential Information shall not be used or

    disclosed by the parties, counsel for the parties or any other persons identified in subparagraph

    (b) for any purpose whatsoever other than in this litigation, including any appeal thereof.

                   (b)      Limited Third-Party Disclosures.                  The parties and counsel for the

    parties shall not disclose or permit the disclosure of any Confidential Information to any third

    person or entity except as set forth in subparagraphs (1)-(9). Subject to these requirements, the

    following categories of persons may be allowed to review Confidential Information:




1
  An attorney who reviews the documents and designates them as CONFIDENTIAL must be admitted to the Bar of at
least one state but need not be admitted to practice in the Northern District of Illinois unless the lawyer is appearing
generally in the case on behalf of a party. By designating documents confidential pursuant to this Order, counsel
submits to the jurisdiction and sanctions of this Court on the subject matter of the designation.

                                                          3
  Case: 1:16-cv-05106 Document #: 49 Filed: 03/10/17 Page 4 of 12 PageID #:520




              (1)    Counsel. Counsel for the parties and employees of counsel who have
                     responsibility for the action;

              (2)    Parties. Individual parties and employees of a party but only to the extent
                     counsel determines in good faith that the employee’s assistance is
                     reasonably necessary to the conduct of the litigation in which the
                     information is disclosed;

              (3)    The Court and its personnel;

              (4)    Court Reporters and Recorders. Court reporters and recorders engaged
                     for depositions;

              (5)    Contractors. Those persons specifically engaged for the limited purpose
                     of making copies of documents or organizing or processing documents,
                     including outside vendors hired to process electronically stored
                     documents;

              (6)    Consultants and Experts. Consultants, investigators, or experts
                     employed by the parties or counsel for the parties to assist in the
                     preparation and trial of this action but only after such persons have
                     completed the certification contained in Attachment A, Acknowledgment
                     of Understanding and Agreement to Be Bound;

              (7)    Witnesses at depositions. During their depositions, witnesses in this
                     action to whom disclosure is reasonably necessary. Witnesses shall not
                     retain a copy of documents containing Confidential Information, except
                     witnesses may receive a copy of all exhibits marked at their depositions in
                     connection with review of the transcripts. Pages of transcribed deposition
                     testimony or exhibits to depositions that are designated as Confidential
                     Information pursuant to the process set out in this Order must be
                     separately bound by the court reporter and may not be disclosed to anyone
                     except as permitted under this Order.

              (8)    Author or recipient. The author or recipient of the document (not
                     including a person who received the document in the course of litigation);
                     and

              (9)    Others by Consent. Other persons only by written consent of the
                     producing party or upon order of the Court and on such conditions as may
                     be agreed or ordered.

              (c)    Control of Documents. Counsel for the parties shall make reasonable

efforts to prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel



                                             4
   Case: 1:16-cv-05106 Document #: 49 Filed: 03/10/17 Page 5 of 12 PageID #:521




shall maintain the originals of the forms signed by persons acknowledging their obligations

under this Order for a period of three years after the termination of the case.

       6.      Inadvertent Failure to Designate.           An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so designate

the document; provided, however, that a failure to serve a timely Notice of Designation of

deposition testimony as required by this Order, even if inadvertent, waives any protection for

deposition testimony. If a party designates a document as Confidential Information after it was

initially produced, the receiving party, on notification of the designation, must make a reasonable

effort to assure that the document is treated in accordance with the provisions of this Order. No

party shall be found to have violated this Order for failing to maintain the confidentiality of

material during a time when that material has not been designated Confidential Information, even

where the failure to so designate was inadvertent and where the material is subsequently

designated Confidential Information.

       7.      Filing of Confidential Information. This Order does not, by itself, authorize

the filing of any document under seal. Any party wishing to file a document designated as

Confidential Information in connection with a motion, brief or other submission to the Court

must comply with LR 26.2.

       8.      No Greater Protection of Specific Documents. Except on privilege grounds

not addressed by this Order, no party may withhold information from discovery on the ground

that it requires protection greater than that afforded by this Order unless the party moves for an

order providing such special protection.

       9.      Challenges by a Party to Designation as Confidential Information. The

designation of any material or document as Confidential Information is subject to challenge by



                                                5
  Case: 1:16-cv-05106 Document #: 49 Filed: 03/10/17 Page 6 of 12 PageID #:522




any party. The following procedure shall apply to any such challenge.

               (a)    Meet and Confer. A party challenging the designation of Confidential

Information must do so in good faith and must begin the process by conferring directly with

counsel for the designating party. In conferring, the challenging party must explain the basis for

its belief that the confidentiality designation was not proper and must give the designating party

an opportunity to review the designated material, to reconsider the designation, and, if no change

in designation is offered, to explain the basis for the designation. The designating party must

respond to the challenge within five (5) business days.

               (b)    Judicial Intervention. A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets forth in

detail the basis for the challenge. Each such motion must be accompanied by a competent

declaration that affirms that the movant has complied with the meet and confer requirements of

this procedure. The burden of persuasion in any such challenge proceeding shall be on the

designating party. Until the Court rules on the challenge, all parties shall continue to treat the

materials as Confidential Information under the terms of this Order.

       10.     Action by the Court. Applications to the Court for an order relating to materials

or documents designated Confidential Information shall be by motion. Nothing in this Order or

any action or agreement of a party under this Order limits the Court’s power to make orders

concerning the disclosure of documents produced in discovery or at trial.

       11.     Use of Confidential Documents or Information at Trial. Nothing in this

Order shall be construed to affect the use of any document, material, or information at any trial

or hearing. A party that intends to present or that anticipates that another party may present

Confidential information at a hearing or trial shall bring that issue to the Court’s and parties’



                                               6
   Case: 1:16-cv-05106 Document #: 49 Filed: 03/10/17 Page 7 of 12 PageID #:523




attention by motion or in a pretrial memorandum without disclosing the Confidential

Information. The Court may thereafter make such orders as are necessary to govern the use of

such documents or information at trial.

       12.     Confidential Information Subpoenaed or Ordered Produced in Other

Litigation.

               (a)     If a receiving party is served with a subpoena or an order issued in other

litigation that would compel disclosure of any material or document designated in this action as

Confidential Information, the receiving party must so notify the designating party, in writing,

immediately and in no event more than three (3) Court days after receiving the subpoena or

order. Such notification must include a copy of the subpoena or court order.

               (b)     The receiving party also must immediately inform in writing the party who

caused the subpoena or order to issue in the other litigation that some or all of the material

covered by the subpoena or order is the subject of this Order. In addition, the receiving party

must deliver a copy of this Order promptly to the party in the other action that caused the

subpoena to issue.

               (c)     The purpose of imposing these duties is to alert the interested persons to

the existence of this Order and to afford the designating party in this case an opportunity to try to

protect its Confidential Information in the court from which the subpoena or order issued. The

designating party shall bear the burden and the expense of seeking protection in that court of its

Confidential Information, and nothing in these provisions should be construed as authorizing or

encouraging a receiving party in this action to disobey a lawful directive from another court. The

obligations set forth in this paragraph remain in effect while the party has in its possession,

custody or control Confidential Information by the other party to this case.



                                                7
  Case: 1:16-cv-05106 Document #: 49 Filed: 03/10/17 Page 8 of 12 PageID #:524




          13.   Challenges by Members of the Public to Sealing Orders.                 A party or

interested member of the public has a right to challenge the sealing of particular documents that

have been filed under seal, and the party asserting confidentiality will have the burden of

demonstrating the propriety of filing under seal.

          14.   Obligations on Conclusion of Litigation.

                (a)    Order Continues in Force. Unless otherwise agreed or ordered, this

Order shall remain in force after dismissal or entry of final judgment not subject to further

appeal.

                (b)   Obligations at Conclusion of Litigation. Within sixty-three (63)

days after dismissal or entry of final judgment not subject to further appeal, all Confidential

Information and documents marked “CONFIDENTIAL” under this Order, including copies as

defined in ¶ 3(a), shall be returned to the producing party unless: (1) the document has been

offered into evidence or filed without restriction as to disclosure; (2) the parties agree to

destruction to the extent practicable in lieu of return; or (3) as to documents bearing the

notations, summations, or other mental impressions of the receiving party, that party elects to

destroy the documents and certifies to the producing party that it has done so. However, counsel

may retain Confidential Information if required, and to the extent required, by their insurance

carrier, provided that such documents shall continue to be protected under this Order, and such

documents shall be destroyed once the insurance carrier no longer requires their retention.

                (c)   Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may retain (1)

attorney work product, including an index that refers or relates to designated Confidential

Information so long as that work product does not duplicate verbatim substantial portions of



                                               8
   Case: 1:16-cv-05106 Document #: 49 Filed: 03/10/17 Page 9 of 12 PageID #:525




Confidential Information, and (2) one complete set of all documents filed with the Court

including those filed under seal. Any retained Confidential Information shall continue to be

protected under this Order.      An attorney may use his or her work product in subsequent

litigation, provided that its use does not disclose or use Confidential Information.

                (d)    Deletion of Documents filed under Seal from Electronic Case

Filing (ECF) System. Filings under seal shall be deleted from the ECF system only upon order

of the Court.

       15.      Order Subject to Modification. This Order shall be subject to modification

by the Court on its own initiative or on motion of a party or any other person with standing

concerning the subject matter.

       16.      No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing herein shall be construed or presented as a judicial determination that any document or

material designated Confidential Information by counsel or the parties is entitled to protection

under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.

       17.      Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the parties, and persons made subject to this Order

by its terms.

       So Ordered.


                                               ENTERED: ____________________________
                                                        JUDGE

                                                    DATE: 3/10/2017


                                                9
   Case: 1:16-cv-05106 Document #: 49 Filed: 03/10/17 Page 10 of 12 PageID #:526




WE SO MOVE                                 WE SO MOVE
and agree to abide by the                  and agree to abide by the
terms of this Order                        terms of this Order

By: /s/ K. Austin Zimmer                   By: /s/ William J. Delaney

K. Austin Zimmer (#6276227)                William J. Delaney
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                                           Attorneys for Plaintiffs
WE SO MOVE                                 Vanessa Rodriguez, Manual Camacho &
and agree to abide by the                  DeJesus Dimitri
terms of this Order
                                           WE SO MOVE
By: /s/ Michael R. Durkin                  and agree to abide by the
                                           terms of this Order
Michael R. Durkin
Andrew Y. Acker                            By: /s/ Joseph Gagliardo
Angelo DelMarto
Storino, Ramello & Durkin                  Joseph Muchin
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Attorneys for Sergeant Robert Arnony       jgagliardo@lanemuchin.com
                                           gjames@lanemuchin.com
WE SO MOVE                                 Attorneys for Officer Timothy Keske
and agree to abide by the
terms of this Order

By: /s/ Edmund P. Wanderling

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Attorney for Karlas Robinzine



                                           10
     Case: 1:16-cv-05106 Document #: 49 Filed: 03/10/17 Page 11 of 12 PageID #:527




                                       ATTACHMENT A

               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

VANESSA RODRIGUEZ, MANUAL                    )
CAMACHO, DIMITRI DEJESUS,                    )
a Minor, by and through his mother           )
VANESSA RODRIGUEZ,                           )
                                             )        No. 2016-cv-5106
        Plaintiffs,                          )
v.                                           )        Judge Gary Feinerman
                                             )        Magistrate Judge Sidney I. Schenkier
CITY OF BERWYN,                              )
Berwyn Police Officers                       )
KARLAS ROBINZINE, Star No. 205,              )
ROBERT ARNONY, Star No. 218,                 )
TIMOTHY KESKE, Star No. 200,                 )
JIM RITZ, Chief of Police,                   )
                                             )
        Defendants.                          )

                                  ACKNOWLEDGMENT
                                        AND
                                AGREEMENT TO BE BOUND

          The undersigned hereby acknowledges that he/she has read the Confidentiality Order

dated _                                                in the above-captioned action and attached

hereto, understands the terms thereof, and agrees to be bound by its terms. The undersigned

submits to the jurisdiction of the United States District Court for the Northern District of Illinois

in matters relating to the Confidentiality Order and understands that the terms of the

Confidentiality Order obligate him/her to use materials designated as Confidential Information

in accordance with the Order solely for the purposes of the above-captioned action, and not to

disclose any such Confidential Information to any other person, firm or concern.




                                                 11
 Case: 1:16-cv-05106 Document #: 49 Filed: 03/10/17 Page 12 of 12 PageID #:528




        The undersigned acknowledges that violation of the Confidentiality Order may

result in penalties for contempt of court.



Name:

Job Title:

Employer:

Business Address:




Date:
                                       Signature




                                              12
